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       UNITED STATES DISTRICT COURT EASTERN DISTRICT OF
                 MICHIGAN SOUTHERN DIVISION

    IN RE FLINT WATER LITIGATION              Case No. 5:16-cv-10444
    Hon. Judith E. Levy

    BELLWETHER III                            Case No. Case No. 5:17-cv-10164
  ________________________________________________________________

      PLAINTIFFS’ MOTION TO STRIKE FILINGS MADE IN ERROR
         On, February 1, 2023, Plaintiffs filed a Response to Defendant’s Motion
  for a Protective Order. However, that pleading (ECF No. 2345) contained a small
  typo with regard to a mentioned date. Plaintiffs drafted an amended motion,
  seeking to fix the error, but inadvertently refiled the original motion. (ECF No.
  2346). Realizing this error, Plaintiffs then filed the correct amended pleading.
  (ECF No. 2347). Accordingly, the corrected filing appears on the docket as
  ECF No. 2347. Pursuant to the Court’s ECF Rules and the Court’s practice in the
  above-captioned matter, Plaintiffs respectfully requests that the Court strike ECF
  No. 2345 and ECF No. 2346, both of which were filed in error.

                                                    Respectfully Submitted,
 Dated: February 8, 2023

                                                    LEVY KONIGSBERG LLP

                                                    /s/ Corey M. Stern
                                                    Corey M. Stern
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                           CERTIFICATE OF SERVICE

  I hereby certify that on February 8, 2023 I electronically filed this document with
 the Clerk of the Court using the ECF System, which will send notification to the
 ECF counsel of record.


                                                    LEVY KONIGSBERG, LLP

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